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|N THE UN|TED STATES DlSTR|CT COURT

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JEv\/ELLEAN iviooRE,

ARTHuRcARSoN, 3"'1 6CV 1 08 0 -M
PLA|NT\FF's,

vs.

REALPAGE iNc.,

Los LoiviAs APARTMENTS,

BRisA HERNANDEZ, MANAGER Los Loi\/iAs APARTMENTS,

DEFENDANTS.
CO|\/|PLA|NT FOR DECLARATORY AND |NJUNCT|VE REL|EF W|TH JURY DE|\/|AND

PREL|M|NARY STATEMENT:

Jewe||ean l\/|oore, and Arthur Carson, the Plaintiff, brings this action under the Fair Credit Reporting
Act Titie V|| of the Civi| Rights and Fair Housing Act, and for Discriminatory Exc|usion of Ex-fe|ons from
Housing. Jurisdiction is conferred on this Court pursuant to the Unfair or Deceptive Acts and Equal
Treatment C|ause Under the Fourteenth Amendment of the United States Constitution.

A). This is an Action for Damages brought by TWo lndividua| Consumers against the Defendants

For Vio|ation of the FRCA, 15 U.S.C. 1681, and for Discriminatori|y Exc|usion of African Americans

Trying to Restart their Life.

 

 

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B). Defendant's Los Lomas, has Acted with Rea|page |nc., to lgnore inaccurate internet data while
Performing ”So-Called” background checks. Rea|page |nc., are in the Business of providing Los Lomas
Apartments with Accurate, comphrensive Consumer Reports for Rental Applications, Rea|page |nc.,

Has engaged in a Systemic scheme of Fraud and Deception.

|. FACTUAL ALLEGAT|ONS
On lVlarch 10,2016, Jewel|ean l\/loore and Arthur Carson , applied for an Apartment at the Los Lomas
Apartment, where two fees totaling $70.00 were paid @ $35.00 per application. Both applications were
Denied several hours later for reasons such as, i.e.”Criminal history, credit history, and credit score”,
As told by Defendant Brisa Hernandez. A copy attached as (Exhibit-1,2,). Defendant Hernandez, failed
To take actions when informed of errors made in their decision.

Jewe|lean l\/|oore's application were denied based on inaccurate and a derogatory report of a Criminal
Background, when She has never been Arrested nor Convicted for a Felony or |\/|isdemeanor.

The Defendant use of a Credit History and score as a Criteria was arbitrarily made, since Los Lomas
Tenant's Selection Criteria signed by both Plaintiff l\/larch 03, 2016, donot specify credit history or
Score would be used, see attached (Exhibit ~3, Tenant Selection Criteria). The use of this tactic while
Keeping Plaintiff's application fees violated Texas l_aw, see; Texas Property Code, 92.3515.

The Defendants Los Lomas ignoring its own selection Criteria Represent the fraudulent Application fee

Apparatus, which is used as a Revenue generator.

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JEWELLEAN l\/|OORE FACTS-CONTI N U ED

1). Since lewellean l\/loore have no Criminal History, the Report is false;

2). The Application were denied contrary to Defendants Los Lomas own Selection Criteria;
3). Jewellean l\/loore, is an African American;

4). Defendants made no legitimate effort to use a Legitimate Law Enforcement Agency to
Do background checks, or Use authentic documents to rely on in denying the application.

5). Plaintiff Jewellean l\/|oore Right to fair housing were denied.

FACTUAL ALLEGAT|ONS OF ARTHUR CARSON

The Defendants, Los Lomas, and Rea|page |nc., used a thirty-eight year old misdemeanor conviction,
Twenty-eight year conviction for attempted murder against Plaintiff Arthur Carson, the report went on
To detail someone other that Plaintiff with a similar first and last name, but with a different middle
Name, as opposed to ”Wayne". The Arthur Ray Carson used had a conviction for Homocide, this was
Used soley by Defendants as puffing.

The Defendants failure to use a legitimate Law Enforcement has allowed the Defendants to rely
on internet garbage and to use prior convictions infinitely, or not within a reasonable time of the

felony conviction, see the seven year limit used by HUD, 24 CFR. 982.553(€)(2).

(3)

 

 

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The Defendant further used a credit History Report against Plaintiff Carson, contrary to the

Tenant selection criteria agreed on prior to Defendants receiving the application fee.

D|SCR|l\/llNATORY DlSFRANCH|SEl\/lENT:

The Defendant's practice, policy is to unfairly discriminate against African-Ameicans, moreso
Those African American with a previous background, no matter the time frame. Such actions have
lmpaired Ex-felons ability to obtain safe, decent housing, contrary to other Race.

The blanket ban on renters with a past conviction as Plaintiff Carson, with no consideration given to the
Length of time from the conviction, regardless of Plaintiff's attempt to demonstrate Rehabilitation.
The Defendants continued castergation of Plaintiff Carson for His Criminal past, represent an on going
Punishment from a past that haunts Him and prevents Him from being able to rebuild His Life.
Contemporaneous|y, there exist a disproportionate number of African Americans convicted, and
lmprisoned. Plaintiff Carson is an African American, and the Defenadants blanket ban against

Housing is equally disparate, and discriminates against African Americans.

WHEREFORE, PREl\/||SES CONS|DERED, PLA|NT|FF'S PRAY, THAT DeClaratory and lnjunctive Relieic

ls granted; and Compensatory, Punitve damages be lssued against the Defendants for One l\/lillion

Dollars.

(4)

 

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3/10/2016

Arthur Carson
3801 Us Highway 80 E
l\/lesquite, TX 75150-3302, US

_ Thank you for your recent application. Your request for a leasing agreement was carefully considered and
we regret that we are unable to approve your application at this time for the following reason(s):

Credit history unsatisfactory
Criminal history unsatisfactory
Credit score unsatisfactory or insuchient

Our decision was based in whole or in part on the credit and/or public record information obtained for the
group application, including the reports from the consumer reporting agencies listed below relating to
Jewellean l\/loore. You have the right, under the Fair Credit Reporting Act, to know the information contained
in your file at the bureaus listed below. Under the Fair Credit Reporting Act, you have the right to submit a
Written request to the consumer reporting agency for a free copy of your consumer credit report no later than
60 days after you receive this notice. The reporting agency played no part in our decision and is unable to
supply specific reasons why we have made this decision on your leasing application.

We also obtained your credit score from the consumer reporting agency listed below and used it as a factor
in our decision. Your credit score is a number that reflects the information in your credit report Your credit
score can change, depending on how the information in your credit report changes.

Your Credit Score : 557

Date:3/10/2016

Scores range from a low of 350 to a high of 850

Key factors that adversely affected your credit score:

Serious delinquency and derogatory public record or collection filed
Number of accounts with delinquencies
Lenqth of time accounts have been established

Length of time since derogato[y public record or collection is too short

ln addition to your credit score which we obtained from the consumer reporting agency, our screening
services provider, RealPage, lnc., also provides a score. Your LeasingDesk Score is set forth below.

Your LeasingDesk Score :278
Scores range from a low of 0 to a high of 1000
Key factors that adversely affected your LeasingDesk score:

Tradeline scoring
Fico
Rental Coliection

lf you have a question on the completeness or accuracy of the information used to create the consumer
report you have the right to dispute the matter by contacting the consumer reporting agencies listed below:

Equifax
P.O. Box 105873

@r/Sq ¢,ér/M/Z/QC < U,` ¢H

https ://rishonmgmt.onesite.realpage.com/soreening/XGletter/letter.htrn?c=1 1 10000100010... 3/10/2016

 

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At|anta, Georgia, 30348
(800).685-1111

RealPage, lnc.

4000 international Parkway

Carrollton, Texas, 75007

(866) 934-1124
http:!fwww.realpade.com/consumer~dispute

lf you have a question about this notice or the community`s rental standards, please contact the submitting
property.

Las Lomas
6161 Trail Glen
Dallas,TX 75217 ,US

Sincerely,
Las Lomas

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3/10/2016

Jewellean l\/loore
3801 Us Highway 80 E
lVlesquite, TX 75150-3302, US

Thank you for your recent application. Your request for a leasing agreement was carefully considered and
we regret that we are unable to approve your application at this time for the following reason(s):

Credit history unsatisfactory
Criminal history unsatisfactory
Credit score unsatisfactory or insufficient

Our decision was based in whole or in part on the credit and/or public record information obtained for the
group application, including the reports from the consumer reporting agencies listed below relating to Arthur
Carson. You have the right, under the Fair Credit Reporting Act, to know the information contained in your
file at the bureaus listed below. Under the Fair Credit Reporting Act, you have the right to submit a written
request to the consumer reporting agency for a free copy of your consumer credit report no later than 60
days after you receive this notice. The reporting agency played no part in our decision and is unable to
supply specific reasons why We have made this decision on your leasing application.

We also obtained your credit score from the consumer reporting agency listed below and used it as a factor
in our decision. Your credit score is a number that reflects the information in your credit report Your credit
score can change, depending on how the information in your credit report changes

Your Credit Score : 532

Date:3/10/2016

Scores range from a low of 350 to a high of 850

Key factors that adversely affected your credit score:

Serious delinquency and derogatory public record or collection filed
Lenqth of time accounts have been established

Number of accounts with delinquencies

Time since delinquency is too recent or unknown

ln addition to your credit score which we obtained from the consumer reporting agency, our screening
services provider, RealPage, lnc., also provides a score. Your LeasingDesk Score is set forth below.

Your LeasingDesk Score 1278
Scores range from a low of 0 to a high of 1000
Key factors that adversely affected your LeasingDesk score:

Tradeline scoring
Fico
Rental Collectlon

lf you have a question on the completeness or accuracy of the information used to create the consumer
report, you have the right to dispute the matter by contacting the consumer reporting agencies listed below:

Equifax
P.O. Box 105873

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Letter

At|anta, Georgia, 30348
(800) 685-1111

RealPage, lnc.

4000 international Parkway

Carrollton, Texas, 75007

(866) 934-1124
http:/fwmy,reaipaqe.com!consumer»dispute

if you have a question about this notice or the community`s rental standards, please contact the submitting
property.

Las Lomas
6161 Trail Glen
Dallas,TX 75217 ,US

Sincerely,
Las Lomas

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t ` Tenant Selech'on Criteria

Quali[ications Guideline :

F air Housing &_ VA WA Statement: Our Apartment Community is committed to compliance with all Federal, State, and Local F air Housing
laws. lt is our policy to o/fer apartments for rental to the general public without regards to race, color, national origin, religion, sex, Familial
status, handicap and violence against women victims. Additionally, our ability to verify whether these requirements have been met is limited to
the information we receive from the tenants and from third party credit reporting services used.

Maximum Occupancv Standarrls: _ _
T he maximum occupancy is as follows: Stated by the guidelines set forth by the department of Housing and Urban Development (HUD)

Maximum AQQlication Fee:
T he maximum application fee per adult will be of $35. 00 (Thirty-Five Dollars 00/] 00).

Age Reguirements: -
Leaseholder (s) must be (18) eighteen - years age unless an emancipated minor through the court, Married and head of household and or

single and with child. All occupants (18) eighteen ~ years or older will be required to complete an application even if living with parent(s) or
guardian(s) or head of household

Income Reguirements:

Your gross monthly income must be sufficient to cover (2) two times the amount of the apartment rent. All residents must provide their most
recent (6) six check stubs if paid weekly, (3) three check stubs if paid bi-weekly, (3) three check stubs if paid semi-monthly, which must include
their year to date earning and/or complete employment information for third party verification lfself- employed you may provide the prior
year ’s'income tax return with supporting documentation At least (6) six months of verifiable employment is required Households participating

in a voucher program requires the household to have the greater of: the monthly income 0f(2) two times the household’s share of the total
monthly rent or an annual income of $2,5 00.

Reauirement for Section 8 and recipients of housing assistance programs: 4
Section 8* and recipients of other housing assistance programs, applicants are welcome and must qualify with all criteria except income

Rental Histo[y:

We require (6) months verifiable rental history

Second chance: No broken leases or evictions in the last 24 months, and no more than one within 5 years after that. A regular deposit
(depending on size of an apartment) will be required And no specials will be granted

First time renters: Will be accepted with a regular deposit and no specials

Criminal Histor}g: '

Leaseholder(s) or Occupant(s) with a felony conviction in the last ten (10) years will not be accepted Leaseholder(s) or Occupant(s) who
exhibit crimes involving a minor, crime of violence, illegal drugs with intent of deliver, prostitution or weapons of any kind will not be
accepted Female victims of abuse will not be disallowed under criminal specifically for the abuse.

Pet Criteria:

We allow (2) animals per household.The pet weight limit are not to exceed (25) lbs. T he deposit is (250.00) two hundred and fifty dollars per
pet, which is refrndable in full if the pet does not damage the apartment, or will be used as needed to pay damages if any. No Pit Bulls are
allawell! Service animals are allowed and exempt from this requirement unless they become a danger to the stajfor other residents and if this
were to be the case the specific animal will no longer be allowed

Fire Arms Criteria:

We do not allow the possession of firearms on property. Exceptions to this rule are that individuals that require the possession of fire arms due
to lawful employment such as security guards or Militaiy- will be allowed to have them, if they can provide the office with proof of such
employment, as well as a State or F ederal issued permit

Reasonable Accommodations$

There are 37 handicap'units on the property. Subject to unit availability, if no handicap units are available, one will be made available if
‘ requested, upon completion and signature of Special Need Certification. T he property will undertake reasonable apartment modification up to

a cost of $500 and with a time frame of 10 working days ,The property will make best efforts to accommodate women victims of abuse by

transferring them to another unit. This is subject to their fulfilling their rental requirements '

Trans[er Policy: v d
Transfer request effective at the end of a lease will be approved subject to unit availability and compliance with all rental qualification
requirements for the new unit.

Wait List Polic}g:

In case one of the requested floor plans is not available for an approved applicant, candidates will be placed on a waiting list on a first come

basis gm $//O% v

esident 's Signature Date

      

Resident’s Signature Date Resident’s Signature Date

Owiner ’s Representative Date
T his document of 4/1/20]5 supersedes previous versions

Qc»<es)

 

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